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               EXHIBIT
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            IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF ALABAMA
                      EASTERN DIVISION

MADISEN ULRICH,           )
                          )
     Plaintiff,           )
                          )
v.                        )           Case No.: 3:20-cv-1018-RAH-SRW
                          )
319 BRAGG STUDENT HOUSING )
AUBURN, AL, et al.,       )
                          )
     Defendants.          )

        CSXT’S AMENDMENT TO ITS SUPPLEMENTAL
    EVIDENTIARY SUBMISSION IN SUPPORT OF ITS MOTION
       FOR SUMMARY JUDGMENT AND ITS MOTION TO
          STRIKE AFFIDAVIT OF BRANDON OGDEN




                            Exhibit 2
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